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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                            )
In the Matter of the                        )
Federal Bureau of Prisons’ Execution        )
Protocol Cases,                             )
                                            )
LEAD CASE: Roane, et al. v. Barr            )       Case No. 19-mc-145 (TSC)
                                            )
THIS DOCUMENT RELATES TO:                   )
                                            )
LeCroy v. Barr, 20-cv-2481                  )
                                            )

                                         ORDER

       For the reasons set forth in the accompanying memorandum opinion (ECF No. 263),

Plaintiff William Emmett LeCroy’s emergency motion for a preliminary injunction (ECF

No. 233) and emergency motion for an expedited hearing (ECF No. 234) are hereby DENIED.

Date: September 20, 2020


                                          Tanya S. Chutkan
                                          TANYA S. CHUTKAN
                                          United States District Judge




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